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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

United States of America,              )
                                       )       ORDER
                Plaintiff,             )
                                       )
        vs.                            )
                                       )
Justin Lloyd Price,                    )       Case No. 1:18-cr-038
                                       )
                Defendant.             )

        On November 1, 2018, the court entered an order: (1) granting defendant’s request for a

furlough and adopting the parties’ stipulation for pretrial release; (2) releasing defendant on

November 6, 2018, with instructions to report to and reside at Prairie St. John’s treatment facility

in Fargo, North Dakota; and (3) directing that defendant surrender to the United States Marshal’s

office in Fargo upon his discharge from Prairie St. John’s.

        On November 13, 2018, the Pretrial Services Office advised the court that Prairie St. John’s

had deemed defendant ineligible for treatment following an evaluation and is planning to discharge

him from its facility on or about November 16, 2018.

        The court finds little value in allowing defendant to remain at Prairie St. John’s until

November 16, 2018, given that it has deemed him ineligible for treatment. Accordingly, the court

vacates its order granting defendant’s request for a furlough and adopting the parties’ stipulation for

pretrial release.

        Defendant shall be remanded to the custody of the United States Marshall pending final

disposition of this matter. Rather than having defendant report to the United States Marshal’s office,

the United States Marshal shall pick defendant up at Prairie St. John’s.




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IT IS SO ORDERED.

Dated this 13th day of November, 2018.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court




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